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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

 STATE OF NEW YORK, et al.,

 Plaintiffs,

 v.
                                          18-CV-2921 (JMF)
 UNITED STATES DEPARTMENT
 OF COMMERCE, et al.,

 Defendants.


  NOTICE OF FILING OF TRIAL AFFIDAVIT OF DR. CHRISTOPHER WARSHAW

Plaintiffs hereby file with the Court the following trial affidavit:

      1. Oct. 26, 2018 Declaration of Dr. Christopher Warshaw (Ex. 1).



                                       Respectfully submitted,
                                       By: /s/ Dale Ho

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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK


NEW YORK IMMIGRATION                           Civil Action No. 18-CV-2921-JMF
COALITION, et. al,
                                               Hon. Jesse M. Furman
Plaintiff,

v.

UNITED STATES DEPARTMENT OF
COMMERCE, et. al,

Defendant.


                   DECLARATION OF DR. CHRISTOPHER WARSHAW

I.      Qualifications

1. I have been asked by counsel representing the plaintiffs in New York Immigration Coalition

     v. U.S. Dept of Commerce and State of New York v. U.S. Dept of Commerce to analyze

     relevant data and provide my expert opinions. More specifically, I have been asked: to

     forecast the populations of every state, county, and city in the United States in 2020; given

     the assumption that various demographic groups are likely to be undercounted due to the

     inclusion of a citizenship question on the Census, to estimate the proportion of the population

     that belongs to those groups; to estimate the proportion of the population in every state,

     county, and city in the United States that belongs to those demographic groups assumed to be

     likely to be undercounted in 2020 due to the inclusion of a citizenship question on the

     Census; to analyze the likely effects of an undercount caused by the citizenship question

     affecting those same demographic groups on the apportionment of representatives across

     states for the U.S. House of Representatives; and to examine the likely consequences of an

     undercount caused by the citizenship question affecting those demographic groups on the
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   distribution of people in urban and rural counties. My expert report is PX-32 and the errata

   to that report is PX-323.

2. I have been an Assistant Professor of Political Science at George Washington University

   since August 2017. Prior to that, I was an Associate Professor at the Massachusetts Institute

   of Technology from July 2016 - July 2017, and an Assistant Professor at MIT from July 2012

   - July 2016.

3. My Ph.D. is in Political Science, from Stanford University, where my graduate training

   included courses in political science and statistics. I also have a J.D. from Stanford Law

   School.

4. My academic research focuses on public opinion based on surveys and census data, as well

   as the study of representation, elections, and polarization in American Politics. I have also

   taught courses on statistical analysis. My curriculum vitae is PX-323. All publications that I

   have authored and published appear in my curriculum vitae. My work is published or

   forthcoming in peer-reviewed journals such as: American Political Science Review, the

   American Journal of Political Sciences, the Journal of Politics, Political Analysis, Political

   Science Research and Methods, the British Journal of Political Science, Political Behavior,

   the Election Law Journal, Nature Energy, Public Choice and edited volumes from Cambridge

   University Press and Oxford University.

5. I am also on the Editorial Board of the Journal of Politics. I have previously provided expert

   reports in League of Women Voters of Pennsylvania v. Commonwealth of Pennsylvania and

   League of Women Voters of Michigan v. Johnson. My non-academic writing has been

   published in the New York Times Upshot.




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6. The opinions in this declaration are my own, and do not represent the views of

      George Washington University.

7. I offer these opinions with a strong degree of professional certainty based on the knowledge I

      have amassed over my education, training and experience, and through a detailed review of

      the relevant academic literature.

II.      Projecting Future Populations

8. The first stage of my analysis is to develop baseline projections of the population of each

      state, county, and city in the country in 2020. These projections are critical to determining the

      likely effects of an undercount in the Census due to the inclusion of a citizenship question. In

      order to develop these estimates, I use the Census’s official estimates of the population of

      each state, county, and city from 2000-2017. The Census does not provide public estimates

      of each geographic unit’s populations in future years.

         A.      Data

9. The Census Bureau’s Population Estimates Program (PEP) produces estimates of the

      population for the United States, states, counties, cities, towns, and other geographic areas.

      These aggregate estimates are based on the demographic components of population change

      (births, deaths, and migration) at each level of geography. 1

10. My population projections are based on these official population estimates for each state,

      county, and city for the period from 2000-2017.

11. For the state populations from 2010-2017, I used the file ‘nst-est2017-01.xlsx’ which I

      obtained from https://www.census.gov/data/tables/2017/demo/popest/state-total.html. For the


1
 I do not directly use the more detailed cohort-component method used by the Census for my population
projections because this information is unavailable for some geographic levels, particularly for the 2000-
2010 period. It is also unclear whether the additional complexities associated with this approach would
yield substantial gains in predictive accuracy.


                                                      3
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   populations from 2000-2009, I used the file ‘st-est00int-01.xls’ from

   https://www.census.gov/data/tables/ time-series/demo/popest/intercensal-2000-2010-

   state.html.

12. For the county populations from 2010-2017, I used the file ‘co-est2017-alldata.csv’ from

   https: //www.census.gov/data/tables/2017/demo/popest/counties-total.html. For the

   populations from 2000-2009, I used the file ‘co-est00int-tot.csv’ from

   https://www.census.gov/data/tables/time-series/demo/popest/intercensal-2000-2010-

   counties.html.

13. For the county populations from 2010-2017, I used the file ‘co-est2017-alldata.csv’ from

   https: //www.census.gov/data/tables/2017/demo/popest/counties-total.html. For the

   populations from 2000-2009, I used the file ‘co-est00int-tot.csv’ from

   https://www.census.gov/data/tables/ time-series/demo/popest/intercensal-2000-2010-

   counties.html.

14. For the city populations from 2010-2017, I used the data in Factfinder available from

   https://www.census.gov/data/tables/2017/demo/popest/total-cities-and-towns.html. For the

   populations from 2000-2009, I used the file ‘sub-est00int.csv’ from

   https://www.census.gov/data/datasets/time-series/demo/popest/intercensal-2000-2010-cities-

   and-towns.html.

       B.        Statistical Model for Population Projections

15. There are a number of potential options for forecasting the likely population of a geographic

   unit (e.g., states) in 2020. One possible forecasting option would be to allow the forecasts to

   increase or decrease over time, where the amount of change over time (called the drift) is set

   to be the average change in the historical data. See Hyndman and Athanasopoulos 2018, at

   48-49. Some related methods in this family of forecasting approaches are:

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      a.   Linear trend between 2010-2017: One possibility is to project forward

           based on the linear trend in the population estimates since the last Census

           (e.g., Election Data Services 2017). This approach assumes that each

           geographic unit’s population follows the same linear rate of change in the

           future that it has followed over the past decade. This approach has the

           benefit of using many years of data, but it could yield biased estimates if

           the population trends have changed over this period. I estimate linear

           trends using a simple linear regression model in the software program R.

      b.   Linear trend between 2014-2017: Another possibility is to project forward

           based on the linear trend in the population estimates over the past 4 years.

           This approach assumes that each geographic unit’s population follows the

           same linear trend in the future that it has followed over this shorter time

           period. This approach has the benefit of being sensitive to more recent

           trends, but it could be noisier than estimates based on the longer time

           series. That is, it could be overly sensitive to short-term trends. I estimate

           linear trends using a simple linear regression model in R.

      c.   Change between two most recent years (i.e., 2016 to 2017): A third

           possibility is to focus on the change between each geographic unit’s

           populations in the two most recent years, and assume that future years will

           follow this recent trend. This approach has the benefit of being based on

           the most recent changes in populations, but it could also be overly

           sensitive to short-term idiosyncratic trends. I estimate these short-term

           trends using the software program R.



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16. As Hyndman and Athanasopoulos discuss, “Sometimes one of these simple methods will be

    the best forecasting method available; but in many cases, these methods will serve as

    benchmarks rather than the method of choice. That is, any forecasting methods . . . will be

    compared to these simple methods to ensure that the new method is better than these simple

    alternatives. If not, the new method is not worth considering.” Id. at 50.

17. I consider one more complex approach against these benchmarks, a state space model with

    exponential smoothing: This approach uses an exponential smoothing model that weights

    levels and trends to an extent determined by the data. See Hyndman and Athanasopoulos.

    This model uses all of the available data, but it gives more weight to the most recent years. I

    estimate the exponential smoothing model using the ets function in the forecast package in

    R. 2

           C.    Validation of Population Projections

18. The accuracy of forecasting models can only be determined by considering how well a given

    model performs on new data that were not used when fitting the original model. Id. at 62. In

    order to choose the best model for this analysis, I evaluated each model using two

    benchmarks that are similar to the challenge of forecasting the 2020 populations. First, I

    forecasted the Census 2010 population in each state based on 2000-2007 population

    estimates data. Second, I forecasted the 2017 population estimates in each state based on

    2007-2014 population data. For each analysis, I used the following evaluation metrics. Id. at

    64-65.


2
  For my state-level population projections, I used the default parameters for the ets function in
R, which allowed the function to choose the exponential smoothing state space model that best
fit the data in each state. The best model was usually an ‘MAN’ or ‘AAN’ model. For the
population projections for cities and counties, I estimated an ‘MAN’ state space model using the
ets function. The details of the state space model specification, however, do not affect any of my
substantive conclusions. All of the state space models yield very similar results.

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               a.      The mean error across states: This helps assess whether a given metric

                       has a systematic bias in one direction or another.

               b.      The mean absolute error across states: This helps assess the accuracy of

                       the forecasts.

               c.      The mean absolute proportional error across states: This metric also helps

                       assess the accuracy of the forecasts. It has the advantage of being unit-free

                       (i.e., the interpretation is similar in small and large states).

19. Table 1 shows the results. For the forecast of the 2010 population, the state space model

   performs the best, with the lowest error, the second lowest mean absolute error, and the

   lowest absolute proportional errors. The two linear trend models perform the worst on this

   forecasting exercise. For the forecast of the 2017 population, the state space model and the

   linear trend model using data from 2010-2017 perform the best. The state space model has

   slightly lower mean errors, and the two models have similar mean absolute errors and

   absolute proportional errors.




20. Overall, the state space model performs the best across the two validation exercises. It has an

   average absolute proportional error of only .8% and an average absolute error of only about

   40,000 people in each state. As a result, I use the state space model as my main forecasting

   model to generate population projections. However, the results of all the analyses that follow

   would be substantively similar using any of these population forecasting approaches.


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        D.      Incorporating Uncertainty

21. All modeled estimates have uncertainty. My analyses use bootstrap simulations to

    incorporate two sources of uncertainty in all my models:

        •    The uncertainty in the population forecasts in every geographic unit

        •    Where available, uncertainty in the undercount estimates for each group

        E.      Baseline estimates of 2020 populations with no undercount

22. I used the official Census population estimates to project each geographic unit’s population

    in 2020. Table 2 shows the population projections for a selection of cities and counties

    involved in lawsuits regarding the citizenship question. Table 3 shows the population

    projections for each state. 3 All of the analysis of apportionment that follows fully

    incorporates the uncertainties in the projections discussed above. But for simplicity, the

    tables themselves do not show the uncertainties.




3
 The projections shown here do not include the overseas military population, federal employees, and
dependents. However, the apportionment projections in Table 5 do include these groups.



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III.      Estimating Proportion of People Likely to be Undercounted Due to Citizenship
          Question

23. I was not asked to and I did not attempt to calculate the specific undercount that the addition

       of the citizenship question might cause. However, I evaluated a range of potential

       undercounts of individuals who live in households with at least one non-citizen, Hispanics or

       foreign-born member to demonstrate the potential effects that the addition of the citizenship

       question might have. Theory indicates that the addition of a citizenship question could lead

       to unit non-response, which occurs when a household does not respond to the Census,

       thereby depressing response rates among non-citizens and immigrant communities. Indeed,

       the Census acknowledges that it is “a reasonable inference that a question on citizenship

       would lead to some decline in overall self-response because it would make the 2020 Census

       modestly more burdensome in the direct sense, and potentially much more burdensome in the

       indirect sense that it would lead to a larger decline in self-response for noncitizen

       households.” (Abowd 2018, Section B2, p. AR 001281)

24. In my analysis, I use this information to look at three potential undercount scenarios:

                  a.      First, I used a 5.8% undercount estimate based on the results of the Census

                          Bureau’s internal study of the effect of a citizenship question on self-

                          response rates. For these analyses, I assumed that respondents that do not

                          self-respond would not be enumerated.

                  b.      Second, I was asked by legal counsel to examine a potential 10%

                          undercount for the analysis of state-level apportionment as an outer bound

                          for the potential effects of the citizenship question on population

                          enumerations and apportionment. This higher number reflects the

                          Census’s finding that the differences between citizen and noncitizen


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                        response rates and data quality are likely to be “amplified” compared to

                        historical levels (Abowd 2018, Section B4, p. AR 001282). The Chief

                        Scientist at the Census has acknowledged that the 5.8% estimate of the

                        effect of the citizenship question on self-response rates is “a conservative

                        estimate of the differential impact of the citizenship question on the self-

                        response rates of noncitizens compared to citizens” (Abowd, J. Dep., Aug.

                        15, 2018, p. 202).

                c.      Third, I was asked by legal counsel to examine a potential 2% undercount

                        as a lower bound for the potential effects of the citizenship question on

                        population enumerations. My report shows the results for cities and

                        counties, and the calculations for a 2% undercount in states are PX-324. I

                        was not asked to and I did not do any analysis of the impact of the Census

                        Bureau’s Non-Response Follow-Up (“NRFU”) on non-response rates, but

                        note that the 2% scenario could be viewed as taking into account some

                        NRFU success after an initial larger nonresponse rate.

25. The recent Census Bureau studies discussed above focus largely on the effects of a

    citizenship question on self-response rates in non-citizen households. As a result, the first set

    of analyses I conducted for each of these undercount scenarios focuses on people in

    households with a non-citizen in them. Beyond the effects on non-citizen households, there

    are also strong theoretical reasons to believe that citizen Hispanics would also be less likely

    to respond to the Census if a citizenship question is included. Citizen Hispanics in immigrant

    communities could fear deportation due to their Census responses. 4 Moreover, a large


4
 Title 13, U.S.C. prohibits the use of Census data for enforcement purposes, but respondents may still
have this concern (Brown et al. 2018).

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      fraction of citizen Hispanics are likely to know non-citizens or even people that have been

      deported. The Census’s internal analysis has shown that citizenship-related questions are

      likely to be more sensitive for Hispanics (Brown et al. 2018, p. 10). Indeed, the Census has

      found clear evidence there are likely to be differential impacts on self-response rates among

      Hispanics from the addition of a citizenship question. Hispanics have a greater breakoff rate

      (i.e., item non-response) on the citizenship question on the American Community Survey

      (ACS) than other demographic groups. 5 There is also evidence of growing unit nonresponse

      rates among Hispanics on the ACS (Brown et al. 2018, p. 12). For these reasons, I analyzed

      the effect of all three undercount scenarios (2%, 5.8% and 10%) on both people in non-

      citizen households and citizen Hispanics.

           A.      Undercount Estimate Based on Original Survey Experiment

26. An empirical approach to determine the potential undercount caused by a citizenship

      question is through a randomized control trial (RCT). The Census Bureau suggests that an

      appropriate RCT could compare self-response rates between households “randomly chosen to

      have [] a citizenship question (the treated group), and a randomly chosen set of control

      households [that] receive a [] Census questionnaire without citizenship” (Brown et al. 2018,

      p. 39)

27. We were unable to conduct a real-world RCT. A similar approach, however, is to conduct an

      experiment that mimics an RCT on a nationally representative survey of Americans. As part

      of this case, the State of New York and other plaintiffs funded a nationally representative

      survey that included an experiment along these lines to examine whether the inclusion of a




5
    See Abowd (2018, Section b3) and Brown et al. (2018, 7).

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    citizenship question would reduce the likelihood that people would complete the Census. 6

    This survey was designed by Dr. Matt Barreto and conducted by Pacific Market Research. 7

                 1.       Design of Survey

28. This survey included a probability sample of 6,309 people, including over-samples of

    Hispanics, Californians, and people in several cities and counties (San Jose, CA, Cameron

    County, TX, and Hidalgo County, TX). 8 It was conducted via phone by Pacific Research

    Group to both landlines and cell phones using live interviews and random digit dialing. The

    survey asked a number of questions about the Census and assessed reactions to the inclusion

    of a citizenship question. The survey did not include a question about the citizenship of

    respondents. But it did include a question about whether respondents were born in the United

    States or a foreign country.

29. In my analysis, I focus on an experiment embedded in the survey that mimics the RCT

    approach suggested by Brown et al. (2018). This enables us to estimate the causal effect of

    the citizenship question on the likelihood that various demographic subgroups will complete

    the Census.

30. In the experiment on our survey, the control group received a vignette stating that the

    government had decided not to include a citizenship question on the census, while the

    treatment group received a vignette stating that the government had decided to include a

    citizenship question on the census. Then the survey asked whether respondents would

    ‘participate and fill out the 2020 Census form, or not?’



6
  As part of my work as an expert in this matter, I reviewed Professor Barreto’s expert report that describes the
survey methodology and his analysis of the results. However, I ran all of the analyses of the survey used in
this report myself. I did not directly use any of Professor Barreto’s findings for my report.
7
  Data and statistical code to replicate my analysis of this survey is available in my replication materials.
8
  The survey includes sampling weights that incorporate these over-samples and make the results
representative at the national-level.

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       Control Group: Now that you’ve heard a little bit about the 2020 Census let me ask you

one final question about how likely you are to participate. If the government decides in 2020 to

NOT include a question about citizenship status, and instead only asks you to report the race,

ethnic background, gender of people living in your household, and the government provides

assurances that your information will be kept confidential and ONLY used for purposes of

counting the total population and nothing more, would you participate and fill out the 2020

Census form, or not?

       Treatment Group: Now that you’ve heard a little bit about the 2020 Census let me ask

you one final question about how likely you are to participate. If the government decides in 2020

to include a question about citizenship status, and asks you to report the race, ethnic background,

gender and citizenship status of people living in your household, and the government provides

assurances that your information will be kept confidential and ONLY used for purposes of

counting the total population and nothing more, would you participate and fill out the 2020

Census form, or not?

31. This experimental design is a strong one for assessing the causal effect of the citizenship

   question on the likelihood that people will complete the Census. However, it does have

   limitations. First, the experiment on the survey imperfectly captures the actual experience of

   completing the Census. Second, many respondents are probably already aware of the

   potential inclusion of the citizenship question on the Census, which could lead to Stable Unit

   Treatment Value Assumption (SUTVA) violations. These SUTVA violations could attenuate

   the effects we detect in the experiment by artificially reducing the differences between the

   treatment and control groups. Overall, I think these limitations mean the survey-based




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     analysis is conservative in its estimates of the citizenship question on self-response rates on

     the Census.

                 2.      Results of Survey

32. My primary analyses focus on two immigrant communities that theory indicates are

     particularly likely to be impacted by the citizenship question. First, I analyze the impact on

     Latinos. 9 This analysis is helpful because there is little publicly available Census analysis of

     the potential effects of the citizenship question on this group. Second, I analyze the impact on

     non-Latino people that are not born in the United States. 10

33. I ran three sets of analyses that are shown in Table 4. My primary analysis of the effect of the

     citizenship question on each group is a weighted regression that evaluates the treatment

     effect of the citizenship question. In other words, it evaluates whether people in the treatment

     group, that were told the Census would include a citizenship question, are less likely to

     indicate they would respond to the Census than people in the control group that were told it

     would not include a citizenship question.

34. As robustness checks, I also ran two additional models. The middle column of Table 4 for

     each group is a weighted regression model that includes control variables for other factors

     that might affect respondents’ willingness to complete the Census, including their age, race,

     and state of residence. The third column of Table 4 for each group is an unweighted

     regression model that includes this same set of control variables for other factors that might

     affect respondents’ willingness to complete the Census. All of my main analyses in the

     results below are based on linear probability models. However, logistic regression models

     yield similar results.

9
 Note that I use the terms Hispanic and Latino interchangeably throughout this declaration.
10
  I include in this group both people that explicitly stated they were born in a foreign country and the
small number of people that refused to answer the nativity question on the survey.

                                                    15
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35. Overall, Table 4 shows that the citizenship question makes both Latinos and Foreign-born

      non-Latinos less likely to respond to the Census. The weighted regression model in column

      (1) indicates that Latinos are about 5.9% less likely to complete the Census if it includes a

      citizenship question. The results are similar in the other two models shown in columns (2)

      and (3). For foreign-born, non-Latinos, the weighted regression in column (4) indicates that

      they are about 11.3% less likely to complete the Census if it includes a citizenship question.

      The results are substantively similar, though more statistically significant, in the other two

      models shown in columns (5) and (6).




IV.      Baseline Estimates of Proportion of Population in Immigrant Communities
         Vulnerable to Undercount

36. In order to analyze the effects of an undercount of individuals that live in households with at

      least one non-citizen and Hispanic on total population enumerations, I used the American

      Community Survey (ACS) to generate baseline estimates of the proportion of the 2020

      population in each state, county, and large city in the following groups that are vulnerable to

      an undercount:



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        •    Non-citizen households (based on whether any member of a household in the ACS
             self-reports that they are a noncitizen) 11

        •    All Hispanics and citizen Hispanics

        •    Foreign-born, non-Hispanics

37. To forecast the population margins of each group within each state (e.g., percent Hispanic), I

     used the individual-level data in the American Community Survey (ACS) from 2007-2016 to

     forecast the 2020 population distributions using the same approach that I used to forecast

     state populations. Individual-level data in the ACS is not readily available below the state-

     level (e.g., for counties and cities). As a result, I used population tables published by the

     Census based on the five-year ACS samples (2012-2016) to estimate the demographic

     distributions within counties and cities. 12 I did not attempt to estimate how these substate

     population distributions are likely to change between 2016 and 2020. Thus, my estimates of

     the percentage of county and city population that are members of immigrant communities are

     probably low due to the general growth of these populations.

        A.       State-level Effects of Undercount - Effect of Undercount on State Population
                 Enumerations

38. I analyzed the effects of each undercount scenario on the enumerated population of each state

     in 2020. The results are shown in Table 5. Column (1) shows the baseline apportionment

     population projections for each state. Column (2) shows the average change in the

     enumerated population if 5.8% of people in non-citizen households are not counted due to

11
   It is important to note that the Census has found that the ACS might be drastically undercounting the
number of households with noncitizens. The ACS implies that about 10% of people live in households with a
noncitizen in them. However, Census Bureau found that many people may be misreporting their citizenship
status on the ACS. Based on administrative records, they estimate that 28.6 percent of all households
could potentially contain at least one noncitizen. So my estimate of the percentage of people that reside in
households with a noncitizen based on the ACS is likely conservative.
12
   For the selection of cities and counties in Tables 2, 7, and 8, I converted the number of non-citizens to the
number of people in households with a non-citizen using the ratio of these groups in the individual- level 5-
year ACS sample (2012-16) for people in the PUMAs that overlapped each city and county. This analysis
is necessarily approximate since PUMAs in the ACS micro-data contain multiple cities and counties.

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   the citizenship question. Column (3) shows the average change in the enumerated population

   if 5.8% of non-citizen households and Hispanics are not counted due to the citizenship

   question. Column (4) shows the average change in the enumerated population if 10% of

   people in non-citizen households are not counted due to the citizenship question. Column (5)

   shows the average change in the enumerated population if 10% of non-citizen households

   and Hispanics are not counted due to the citizenship question. Column (6) shows the average

   change in the enumerated population in each state based on the results of the survey

   experiment. Specifically, this scenario assumes that 5.9% of Hispanics and 11.3% of foreign-

   born, non-Latinos are not counted in the enumerated population.

39. For the analysis of apportionment, I also incorporated estimates of the overseas military

   population and federal employees, and their dependents living with them. Specifically, I used

   the 2010 population figures for the overseas military population and federal employees, and

   their dependents living with them, for each state, and divided this number by half to

   approximately reflect the reduction in the nation’s military deployments over the past decade.

   See https://www.census.gov/data/tables/2010/dec/2010-apportionment-data.html, for 2010

   population figures. See also Pew Foundation study, http://www.pewresearch.org/fact-

   tank/2017/08/22/ u-s-active-duty-military-presence-overseas-is-at-its-smallest-in-decades/,

   for more information on the reduction in the number of overseas military personnel over the

   past decade.




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40. Overall, Table 5 indicates that each state would be affected by an undercount on the Census.

   The largest impacts would be in states with large numbers of Hispanics, non-Citizens, and

   foreign-born residents. For example, California would be undercounted by 1.7-5.0% in these

   scenarios; Florida would be undercounted by 1-3.4%; New Jersey would be undercounted by




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   1.2-3.3%, New York would be undercounted by 1.2-3.2%; and Texas would be undercounted

   by 1.3-4.6%.

41. Figure 1 shows a map of the results from the survey experiment (column 6 in Table 5). This

   map graphically shows that heavily Latino states on the southern border have the largest

   impacts from an undercount. States in the northeast, such as New York, New Jersey, and

   Massachusetts, with significant foreign-born populations also have significant impacts.




42. I used the population projections and estimated effects of the various undercount scenarios

   on the enumerated population of each state to examine the likely effect of the citizenship

   question on the apportionment of seats in the House of Representatives. Article 1, Section 2,

   of the United States Constitution states: “Representatives and direct Taxes shall be

   apportioned among the several States which may be included within this Union, according to

   their respective Numbers.”

43. Since the first census in 1790, five methods of apportionment have been used. The

   government currently uses a method called the Method of Equal Proportions, which was


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       adopted by Congress in 1941 following the census of 1940. This method first assigns each

       state one seat. Then, additional seats in the House of Representatives are signed to a

       “priority” value. The priority value for each seat is determined by multiplying the population

       of a state by a “multiplier.” The multiplier is 1/                        . So the formula for calculating the


       multiplier for the second seat is 1/                       or 0.70710678, the formula for calculating the


       multiplier for the third seat is 1/                    or 0.40824829, and so on. The Census provides an

       official table of these multipliers, which I used for my calculations. 13

44. The next step is to multiply the multipliers by the population total for each of the 50 states

       (the District of Columbia is not included in these calculations). The resulting numbers are the

       priority values. Multipliers and priority values must be calculated for the largest number of

       seats that could be assigned to a state. In my analysis, I calculated the priority values for each

       state for seats 2 through 60. The next step is to rank and number the resulting priority values

       starting with seat 51 until all 435 seats have been assigned. The final step is to tally the

       number of seats for each state to arrive at the total number of seats in the House of

       Representatives apportioned to each state.

45. I conducted these steps for 500 simulations of the population projections and undercount

       scenarios in each state. Table 6 shows the results. Column (1) shows the baseline projections

       for the number of seats that each state is likely to receive in 2020 if there is a full population

       enumeration. Column (2) shows the average change in the number of congressional seats if

       5.8% of people in non-citizen households are not counted due to the citizenship question.

       Column (3) shows the average change in seats if 5.8% of non-citizen households and

       Hispanics are not counted due to the citizenship question. Column (4) shows the average

13
     See https://www.census.gov/population/apportionment/about/computing.html.

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   change in seats if 10% of people in non-citizen households are not counted due to the

   citizenship question. Column (5) shows the average change if 10% of non-citizen households

   and Hispanics are not counted due to the citizenship question. Column (6) shows the average

   change in seats in each state based on the results of the survey experiment. Specifically, this

   scenario assumes that 5.9% of Hispanics and 11.3% of foreign-born, non-Latinos are not

   counted in the enumerated populations. Also, each column includes 95% confidence intervals

   for the seat projections in parentheses. This means that there is a 95% chance that the true

   number of seats gained or lost in each scenario will be in this range.

46. First, we can examine Columns (2) and (3) of Table 6, which show the effects of a 5.8%

   undercount of people in non-citizens households and Hispanics. In these scenarios, California

   is extremely likely to lose a seat. Additionally, if there is an undercount of 5.8% of both

   people in non-citizen households and Hispanics, there is more than a 51% chance that Texas

   will lose a seat. There is also a risk that Arizona, Florida, Illinois, and New York could lose

   seats in some simulations.

47. Columns (4) and (5) of Table 6 show the effects of a 10% undercount of non-citizen

   households and Hispanics. If only people in non-citizen households are undercounted,

   California and Texas would be more likely than not to lose a seat. Arizona, Florida, Illinois,

   and New York would also be at risk of losing seats. If both non-citizens and Hispanics are

   undercounted, Arizona, California, Florida, and Texas would be likely to lose seats. Illinois

   and New York would also be at risk of losing a seat.




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48. Column (6) shows the effects of the undercount of Hispanics and foreign-born residents

   found in the survey experiment. In this scenario, California, Florida, and Texas would most

   likely all lose seats. Arizona, Illinois, and New York could lose a seat as well.




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49. The states that lose seats in Congress would likely see decreases in their share of outlays of

   federal funding due to their reduction in voting power in Congress. See Elis, Malhotra, and

   Meredith 2009 (PX-325). The Elis article attached here is just an example. It is a well-

   established finding in political science and political economy that the loss of political power

   as a result of the loss of representation leads to the loss of funding. This finding is based on a

   body of research showing that counties in areas of states that were underrepresented in state

   legislatures or Congress due to malapportionment received substantially lower shares of

   distributive spending. In the wake of the Baker v. Carr family of Supreme Court cases that

   required one-person, one-vote, counties that were underrepresented due to malapportionment

   saw both their representation in legislatures and their share of spending increase substantially

   when the equal populace district requirement was implemented. See Ansolabehere, Gerber,

   and Snyder 2002 (PX-326). Additionally, it is also based on another body of research

   comparing states that barely gain or lose Representatives in Congress. See PX-325. The

   census thresholds sometimes are quite close where a state could gain or lose seats. So this

   research compares those states that are just above and below the population thresholds to

   gain or lose a seat, and it has found that the states that just barely gain a seat receive more

   money than the states that barely lose a seat.

       B.      City and County Effects of Undercount

50. I also examined the effects of the various undercount scenarios for cities and counties.

   Irrespective of state-level impacts on apportionment, the enumeration of subnational areas is

   crucially important for a number of purposes. It affects the distribution of federal and state

   funds that are tied to population formulas. In addition, it affects the allocation of legislative

   seats within states since legislative districts are required to be equipopulous.



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51. This allocation of voting power within states, in turn, affects distributive spending programs

   influenced by the legislature. See PX-326. Areas with greater population enumerations, and

   thus more voting power, are likely to receive more funding. This article is just another

   example of this well-established finding in political science. There is a large body of

   political science research concluding that vote dilution due to malapportionment leads to a

   reduction in voting power and less distributive spending.

52. It is reasonable to assume that undercounts like those addressed in my report will more likely

   than not impact intrastate redistricting because there is no reason to think that a state

   legislature would correct an undercount on the Census. I think it’s a reasonable assumption

   that state governments would not consciously try to remedy an undercount.

53. Table 7 shows the impact on the counties and cities that are involved in the lawsuits

   regarding the citizenship question. The left column shows the baseline 2020 population

   projection. It also shows the absolute change in population and percentage change in the

   geographic unit’s population due to three undercount scenarios. First, I examine a 2%

   undercount scenario. Second, I examine a 5.8% undercount scenario. For each of these

   scenarios, I examine undercounts among people in non-citizen households and among non-

   citizens households + Hispanics. Finally, I examine a scenario based on the results of the

   survey experiment.

54. Table 7 shows the effects on a selection of cities and counties involved in the lawsuits

   regarding the citizenship question. All of these local governments would most likely face

   smaller population enumerations due to an undercount from the addition of a citizenship

   question. Some of the largest effects would be in Miami, FL, New York, NY, Central Falls,




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   RI, and Providence RI. In the survey experiment scenario (right-hand column), each of these

   cities could see a reduction of around 4% or more in their enumerated populations.




55. The three Texas counties would also face particularly negative impacts. Each of these heavily

   Latino counties could have a reduction in their enumerated populations of over 5%.

56. Figure 2 shows the reduction in the enumerated population for every county in the country

   based on the survey experiment (last column of Table 7). It shows that the largest effects are

   in counties on the southern border, the California coast, and in the region around New York

   City. The counties and cities that are plaintiffs in this suit are labeled on the graph. All of

   these geographic units are in the most heavily impacted areas of the country.




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57. Table 8 shows the change in each area’s share of its state population due to the undercount.

   This statistic is important for estimating the potential effects of the undercount on state-level

   formula grants, as well as on the relative voting power of each geographic area in

   congressional and state legislative elections. Geographic areas that see a reduction in their

   share of the state population are likely to get less representation in Congress and their state

   legislature. This reduction in voting power is likely to lead to less distributive spending. See

   PX-326. As stated before, this article is just an example. There is a large body of political

   science research that finds localities have their vote diluted because they are malapportioned.

   This implies that if the enumerated populations used for redistricting are smaller than their

   actual populations, then this reduction in voting power is very likely to lead to less

   distributive spending.




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58. Table 8 shows the relative change in each area’s population using three undercount scenarios.

   First, I examine a 2% undercount scenario. Second, I examine a 5.8% undercount

   assumption. For each of these scenarios, I examine undercounts among people in non-citizen

   households and among non-citizens households + Hispanics. Finally, I examine a scenario

   based on the results of the survey I discussed in depth above.

59. Under nearly every scenario, each of the cities and counties would face declines in their share

   of their respective state populations due to an undercount from the citizenship question. Once

   again, some of the largest effects would be in Miami, FL, New York, NY, Central Falls, RI,

   Providence RI, and the three Texas counties. Each of these areas would have a reduction in

   their ‘relative populations’ (i.e., share of the state population) of several percentage points

   based on the survey experiment.




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V.      Aggregate Effects on Share of Population in Different Types of Counties

60. I examined the macro effects of an undercount due to the addition of a citizenship question

     on the distribution of the enumerated population across urban and rural areas. For simplicity,

     I use the survey estimates on foreign-born people and Hispanics. But the results are broadly

     similar for other undercount scenarios. 14 The best available definition of urban and rural

     areas is based on a classification system developed by the National Center for Health

     Statistics (NCHS). 15 This classification system is often used to study the associations

     between the urbanization level of residence and health and to monitor the health of urban and

     rural residents. NCHS has developed a six-level urban-rural classification scheme for U.S.

     counties and county-equivalent entities. The most urban category consists of “central”

     counties of large metropolitan areas and the most rural category consists of nonmetropolitan

     “noncore” counties. Figure 3 shows a map of the NCHS classification scheme.




14
    For confidentiality reasons, it is not possible to match the ACS micro-data to smaller cities and
counties. So, for this analysis, I calculated the ratio of people in non-citizen households to individual
non-citizens for each state in the 2016 ACS. I then multiplied these ratios by the estimates of the number of
non-citizens in each city and county to estimate the number of people in households with a non-citizen.
15
   See https://www.cdc.gov/nchs/data_access/urban_rural.htm.

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          Figure 3: 2013 Urban-Rural Classification Scheme for Counties

61. Figure 3 shows that an undercount due to a citizenship question would have the most

      substantial impact in large metropolitan counties with major cities. Based on the survey

      experiment, these counties would have a reduction in their enumerated population of 2.9%. 16

      This group of counties would also have a reduction in their share of the national population

      of 1.1%. This reduction in urban areas’ relative population would likely lead to dilution in

      their voting power and a reduction in their representation in Congress and state legislatures.

      At the other end of the continuum, noncore rural counties would only have a reduction in

      their enumerated population of .5%. Moreover, they would actually see a sizable 1.4%

      increase in their share of the national population. This would lead to an increase in their

      representation in the legislature. Thus, the undercount caused by a citizenship question on the




16
     The patterns are broadly similar in the other scenarios.


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      Census would lead to a redistribution of political power in America. It would reduce the

      representation of urban counties, and increase the voting power of rural counties.




VI.      Conclusion

62. I have reached the following conclusions:

                 a.     The undercount caused by the inclusion of a citizenship question on the

                        Census is likely to have effects on the population counts of each state, and

                        the apportionment of representatives across states for the U.S House.

                        There is a very high probability that California will lose a congressional

                        seat, and it is more likely than not that Texas will lose a congressional

                        seat. There is also a substantial risk that Arizona, Florida, Illinois, and

                        New York could lose a seat.

                 b.     The citizenship question is also likely to have effects on the population

                        counts of large counties and cities within each state. This will affect the

                        distribution of voting power within states, and lead to the dilution of the

                        voting power of New York, NY, Miami, FL, Providence, RI, and other

                        large cities with substantial immigrant populations.




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                            Appendix




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